                                 EXHIBIT 1

                   February 12, 2014 Promissory Note

                               [See Attached]




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